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                      EXHIBIT A
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     Barry A. Kozyra, Esq. (023641978)
     KOZYRA & HARTZ, LLC
     354 Eisenhower Parkway
     Second Floor, Suite 2300
     Livingston, New Jersey 07039
     Tel.: (973) 740-1550
     Fax: (973) 740-1515
     Attorneys for Third Parly Defendant/
     Fourth Party Plaintiff, Princeton Investment Partners, Ltd

      OLD NASSAU IMPORTS, LLC,                       SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION - ESSEX COUNTY
                                  Plaintiff,
                         v.
                                                     DOCKET NO. L-8865-14
      US! INSURANCE SERVICES, LLC,
      ROBERT COPE, DAVID GASTWIRTii,                 CIVIL ACTION
      AMERICAN BUSINESS, INC. AND
      AMERICAN BUSINESS EAST, INC., JOHN
      AND JANE DOES 1-10, ABC COMPANY 1-                            SUMMONS
      10

                                  Defendants.


      USI INSURANCE SERVlCES, LLC and
      ROBERT COPE,

                         Thlrd-Party Plaintiffs,

                         v.
      PRINCETON INVESTMENT PAR1NERS.
      LID.

                         Third-Party Defendant.


      PRINCETON INVESTMENT PAR1NERS.
      LTD.

                         Fourth- Party Plaintiff,
                    v.

      RLI INSURANCE COMPANY, and JOHN
      AND JANE DOES 1-5 AND ABC
      C011PANY 1-5, said Names being Fictitious,

                    Fourth-Party Defendants.
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     From The State of New Jersey To The Fourth Party Defendant(s) Named Above:

                                     RLI Insurance Company
                                     10000 Midlantic Drive
                                     Suite 400W
                                     Mount Laurel, NJ 08054

             The third party defendant/fourth party plaintiff, Princeton Investment Partners, Ltd, has filed
     a lawsuit against you in the Superior Court of New Jersey. The fourth party complaint attached to
     this sunlIDons states the basis for this lawsuit. If you dispute this fourth party complaint, you or your
     attorney must file a written answer or motion and proof of seivice with the deputy clerk of the
     Superior Court in the county listed above within 35 days from the date you received this summons,
     not counting the date you received it. (A directory of the addresses of each deputy clerk of the
     Superior Court is available in tl1e Civil Division Management Office in tl1e county listed above and
     online at htto://www.judiciarv.state.nj.us/pro se/10153 deptyclerklawref.pdf.) If the complaint is
     one in foreclosure, then you must file your written answer or motion and proof of service with the
     Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A
     filing fee payable to the Treasurer, State of New Jersey and a completed Case Information
     Statement (available from the deputy clerk of the Superior Court) must accompany your answer or
     motion when it is filed.

             You must also send a copy of your answer or motion to third party defendant/fourth party
     plaintiff's attorney 'vhose name and address appear above, along with the following counsel o
                                                                                                  !
     record:

                                          Frederick C. Biehl, Esq.,
                                   Soriano, Henk.el, Biehl & Matthews, P.C.
                                           75 Eisenhower Parkway
                                         Roseland, New Jersey 07068
                               Attorney for Plaintiff, Old Nassau Imports, LLC

                                           Christopher Leise, Esq.
                                           White and Williams, LLP
                                             457 Haddonfield Road
                                                    Suite 400
                                        Cherry Hill, New Jersey 08002
                           Attorney for Defendants, US! Insurance Services, LLC
                                             and Robert Cope




                                                         2
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                                          Gary V amavides, Esq.
                                    Sichenzia, Ross, Friedman, Ference
                                               61 Broadway
                                         NewYork,NewYork 10006
                               Attorney for Defendants David Gastwirtl1,
                             American Busll1ess & Professional Program, Inc.
                                   and American Business East, Inc.

            A telephone call will not protect your rights; you must file and serve a written answer or
       otion (with fee of $175.00 and completed Case Information Statement) if you want the court to
      ear your defense.

            If you do not file and serve a written answer or motion v.'ithin 35 days, the court inay enter
      judgment against you for the relief third party defendant/fourth party plaintiff demands, plus
      terest and costs of suit. If judgment is entered against you, the Sheriff may seize your money,
      ages or property to pay all or part of the judgment.

             If you cannot afford an attorney, you may call the Legal Services office in the county where
      ou live or the Legal Services ofNew Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-
      529). If you do not have an attorney and are not eligible for free legal assistance, you may obtain
      referral to an attorney by calling one of tl1e Lawyer Referral Services. A directory with cdritaCt
       ormation for local Legal Services Offices and Lawyer Referral Services is available in the Civil
                  Management Office in the county listed above and online at
         :llwww:udici .state.n·.usl rosel10153 de clerklawref. df.


                                                    Isl Michelle M. Smith
                                                    Clerk of the Superior Court
      ate: November 10, 2016



       aine of Defendant to be Served:             RLI Insurance Company


      ddress of Defendant to be Served:            10000 Midlantic Drive
                                                   Suite400W
                                                  Mount Laurel, NJ 08054




                           PERSONAL SERVICE ONLY



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    Bru:zy A. Kozyra, Esq. (023641978)
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    Tel.: (973) 740-1550
    Fax: (973) 740-1515
    Attorneys for Third Party Defendant
    Princeton Investment Partners, Ltd

      OLD NASSAU IMPORTS, LLC,

                                P!ainilil;
                    v.
                                                  DOCKET NO. L-8865-14
      US! INSURANCE SERVICES, LLC,
      ROBERT COPE, DAVID GASTWJRTI!,              CIVIL ACTION
      AMEIUCAN BUSThlESS, INC. AND
      AMERICAN BUSINESS EAST, INC., JOHN
      ANO JANE DOES 1-10,AECCOMPANY 1-            ANSWER OF PRJNCETON INVESTMENT
      10                                             PARTNERS, LTD. TO THIRD PARTY
                                                      COMPLAINT OF USI INSURANCE
                                Defendants.       SERVICES, LLC AND ROBERT COPE AND
                                                   FOURTH PARTY COMPLAINT AGAINST
      US!INSURANCE SERVICES, !LC=!
                                                       RLIINSURANCE COMP ANY
      ROBERT COPE,

                        Third-Pacty Plrunfilfs,

                    v.

      PRINCETON INVESTMENT PARTNERS,
                                                        . -·suPfRibR COURT Of NEW J[RSEY-1
      LTD.                                              I           \AW DIVISION     .
                                                        1
                                                        .        .· · ·ESSEX VICINAGE   ·
                        Third-Party Defendant.


      PRINCETON INVESTMENT PARTNERS,
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                                                                                            ·1·
      LTD.
                                                         .\.       'IN~NCE DIVISION
                        Fourth- Party Plain~              I            RECtiVED/fllrn       Ic
                   v.

      RLI INSURANCE COMPANY, md JOHN
      ANO JANE DOES !-5 AND AEC
      COWANY 1-5, said Names being Fictitious,

                   Fourth-Party Defendant5.
Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 6 of 43 PageID: 12



            Third Party Defendant Princeton Investment Partners, Ltd. ("Third Party Defendanf' or

    "Princeton"), by and through its attorneys, Kozyra & Hartz, LLC, ans\Vers the Third Party

     Complaint as follows:

                                               THE PARTIES

            1.         Admitted.

            2.         Princeton lacks knowledge or information sufficient to form a belief as to the

     allegations and leaves Third Party Plaintiffs to their proofs.

            3.         Princeton lacks knowledge or information sufficient to form a belief aB to the

     allegations and leaves Third Party Plaintiffs to their proofs.

                4.     Denied.

                                               BACKGROUND
                5.     Admitted.

                6.     Admitted.

                7.     Admitted.

                8.     Admitted.

                9.     Deniedexceptto admitthatthe facts alleged have been referenced out ofthe context

      of the entire agreement and the relationship of the parties leaving Third Party Plaintiffs to their

      proofs.

                10.     Deniedexceptto admit that the facts alleged have been referenced out ofthe context

      of the entire agreement and the relationship of the parties leaving Third Party Plaintiffs to their

      proofs.

                 11.    Denied except to admit that the facts alleged have been referenced out ofthe context

      of the entire agreement and the relationship of the parties leaving Third Party Plaintiffs to their

      proofs.

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               12.   Denied except to adroit that the facts alleged have beenreferenced out ofihe conteXi: ·

     of the entire agreement and the relationship ofi:b.e parties leaving Third Party Plaintiffs to their

     proofs.

               13.   Denied except to adm.itthatthefacts alleged have been referenced out ofthe context

     of the entire agreement and the relationship of the parties leaving Third Party Plaintiffs to their

     proofs.

               14.   Denied except to admitthatthe facts alleged have been referenced out ofthe context'

     of the entire agreement and the relationship of the parties leaving Third Party Plaintiffs to their

     proofs.

               15.   Princeton lacks knowledge or information sufficient to form a belief as·to·the

     allegations and leaves Third Party Plaintiffs to their proofs.

               16.   Princeton lacks knowledge or information sufficient to form a belief as to the

     allegations and leaves Third Party Plaintiffs to their proofs.                                     ·: t'
                                                                                                             '
               17.   Princeton lacks knowledge or information sufficient to form a belief as to the

     allegations and leaves Third Party Plaintiffs to their proofs_

               18.   Princeton lacks knowledge or information sufficient to form a belief as lto··the

     allegations and leaves Third Party Plaintiffs to their proofs_

               19.   Denied.

               20.   Denied.

               21.   Denied.

               22.   Denied.

               23.   Denied.                                                                          ii·;


               24.   Denied.




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            WHEREFORE, Third Party Defendant Prince1Dn Investment Partners, Ltd., demands

     Judgment against the Third Party ComplaintofUSIInsurance Services, LLC and.Robert Cope with

     prejudice, together with costs of suit and such other relief as the Comt deems equitable and just.

                              SEPARATE DEFENSES TO ALL COUNTS

                                      FIRST SEPARATE DEFENSE

             Defenclant5/Third Party Plaintiffs fail to set forth a cause of action upon which relief can

     be granted.

                                    SECOND SEPARATE DEFENSE

             The prosecution ofthe claims set forth ill. the Third Party Complafilt is barred or limited bY:

     reason of Third Party Plaintiffs' own acts or omissions.

                                      THIRD SEPARATE DEFENSE

             The prosecution of the claims set forth in the llirdParty Complaint is barred or limited by

     reason of the express provisions of any agreements involved in this action..

                                    FOURTH SEPARATE DEFENSE

             The prosecution of the claims set forth in the Third Party Complaint is barred or limited· by

     reason of Princeton having fully performed and completed relevant services under any agreementi
                                                                                                            '
      connected to this action.

                                      FIFTH SEPARATE DEFENSE

              The prosecution of the claims set forth in the Third Party Complaint is barred or limited by

      reason of the equitable doctrines of waiver, !aches, estoppel and unclean hands.

                                       SIXTH SEPARATE DEFENSE

              The prosecution ofthe claims set forth in the Third Party Complaint is barred or limited by

      reason of the doctrine ofres juclicata and/or collateral estoppel


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                                  SEVENTH SEPARATE DEFENSE

            The prosecution of the claims set forth in the Third Party Complaint is barred or limited by

    reason ofDefendants/Th.ixd Party Plaintiffs' failure to mitigate damages.

                                   EIGHTH SEPARATE DEFENSE

            The prosecution of the claims set forth in the Third Party Complaint is barred or limited

     yreason of lack of mutual intent or mutual mistake.

                                     NINTII SEPARATE DEFENSE
            Tue prosecution of the claims set forth in the Third Party Complaint is barred or limited by

     reason of any contract or agreement which Defendants/Third Party Plaintiffs alleges to exist being
                                                                                                         '
     void and/or unenforceable as a matter of law and/or public policy.

                                     TENTH SEPARATE DEFENSE

            The Defendants/Third Party Plaintiffs' claimed damages were caused by persons or entities

     over whom the Third Party Defendant bas no control.

                                  ELEVENTI! SEPARATE DEFENSE

             The Defendants/Third Party Plaintiffs' claims are frivolous pursuant to Rule 1:4-8 and

     N .J .S.A. 2A: 15-59 .1, as they lack a reasonable basis in law or equity and cannot be supported by

     a good faith argument for an extension, modification or reversal of existing law.

                                                                                                     . -.,
                                   TWELFTH SEPARATE DEFENSE

             Tb.e allegations ofthe Third Party Complaint are based on false statements offact and unless

      withdra\Vll or corrected constitute a violation of the Rules of Court.

                                 THIRTEENTH SEPARATE DEFENSE

             The fiduciary responsibilities and duties of the Defendants/Third Party Plaintiffs' to the

      Plaintiff camwt be transferred to Princeton by Defendants/Third Party Plaintiffs.


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                WHEREFORE, Third Farly Defendant Princeton InveS!ment Partners, Ltd., demands

     ·udgment dismissing the Third Party Complaint with prejudice and awarding the attorneys' fees,

     costs and disbursements which Third Party Defendant Princeton Investment Partners, Ltd. has

     incurred in defending against the Tillrd Party Complaint.

                                       .FOURTH PARTY COMPLAINT

                 Fourth Party Plaintifl; Princeton Invesbnent Paiiners, Ltd. (''Princeton"), by wey a -

     Fourth Party ComplaintagainstfueFourthParty Defendants, RLIJnsnraoce Compaoy ("RLr'), Jami

     and Jane Does 1-5 and ABC Company 1-5, aver as follows:

                                          FACTUAL BACKGROUND

                 1.      Fourth Party Plaintiff Princeton, is a corporation of the State ofNew Jersey.

                 2.      Fourth Party Defendant, RLI, is an insurance company whic~ upon information

      and belief, is organized and existing under the laws ofthe State of Illinois, with its principal plac'e

      of business in the St.ate of Illinois.

                 3.       Fourth Party Defendants John and Jane Does 1-5 and ABC Company 1-5 are

      fictitious names for individuals, companies, agents., or representatives of or affiliated withFourth1"

      Party Defendant, RLI, and has acted on behalf of and in concert with RLI.

                  4.      On or about September 5, 2015, Princeton procured a professional personal

      services liability insurance policy number RTP0006230 wifu RLI (the "Policy'')-

                  5.      The Policy is a claims-made and reported policy with a policy period from

      September 5, 2015 to September 5, 2016.

                  6.       The Policy procured coverage for any actual or alleged error, omission ·ar

      negligent act connected to Princeton's professional services to third parties, including management

       consulting services for amongst other things, (1) analysis ofmanagement and operational issues an~


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     development and improvement plans; or (2) advice and guidance on development and the

     implementation of strategic goals, and objectives_

                7.        In or about August 2016, a tbird-parly complaint was filed on behalf of USI

     Insurance Services, LLC and Robert Cope against Princeton alleging negligence on the part o

     Princeton in connection with its duties to advise and assist the First Party Plaintiff Old Nassau

     Imports, LLC ("ONr') :in the conduct of its business pursuant to a May 16, 2008 services coniraci

      (the "Contract"). Attached hereto is a copy ofthe Third Party Complaint with the Contract attached

      thereto as Exhibit A.

                 8.       In accordance with 'if1 of the Contract, Princeton agreed to:

                        advise and assist ONI in the conduct of its business, including
                        without limitation, operational growth, cash flow management.,
                        investment banking, inventozy control and management, logistics,
                        product costing and distribution, strategic planning, financial
                        analysis, :insurance services and such other matters as may be
                        reasonably requested and approved by the ON! Board ofDirectors.

           [See Ex. A, ~1 attached to1he Third Party Complaint; See also Third-Party Complaint, ~9]

                 9.        The Third Party Complaint alleges that representatives ofPrinceton "assisted ONI

      in the conduct of its business, including its growt:h, cash flow management, strategic planning,

      financial services and insurance services." [See Third-Party Complaint, 'ifl2]

                 10.       However, the Third Party Complaint alleges thatPrinceton negligently performed

      its management consulting responsibilities, including its failure to "advise and assist [ONI] with

      its :finances, accounts and other conduct of its bus:iness." [See Third Party Compl., 'if'i[21 -21

       (including subparts).

                  11.      On June 23,2016, Princeton timelynotifiedRLI of1heplannedfiling of1he Third

       Party Complaint demanding RLI defeod and indemnify it_ (The identical Third Party Complaint

       was later filed and served on Princeton.)

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                12.    On August 26, 2016, RLI refused to ackno1vledge its duty to either defend or

     indemnify Princeton in connection with tbe Third Party Action notwithstanding the language ofthe ·

     policy which covers the conduct such as that alleged by the Third Party Plaintiffs. (See Exhibit B,

     Letter from RLI to Princeton dated August 26, 2016.)

               13.    ill aresultofRLI's wrongful refusal to defend the case, Princeton bas been forced

      assume its own defense and also filed this Fourth Party Action against RLI.

                                             FIRST COUNT

                      (Declaratory Judgment/Breach of Contract-Defense Costs)

               14.     Fourth Party Plaintiff repeats the allegations ofthe preceding paragraphs as·if set

     orth at length herein.

               15.     Fourth Party Defendant, RLI has breached the express terms of the Policy by

     ailing and refusing to provide Princeton with a defense fur all counts of the Third Party Complain

       d by failing to fully and properly investigate Princeton's claim.

                16.    Under the terms of the Policy, RLI had a duty to defend against all counts of &e

       · d Party Complaint.

                17.    As a direct and proximate result ofRLI's breach of contract, Princeton has been

       d continues to be deprived of the benefit of insurance coverage for which they have paid

       bstantial premiums.

                18.    As a direct and proximate result of RLrs failure to defend the Third Party

       omplaint, Princeto_n bas suffered substantial damages, including but not limited to, payment-o

       omey fees and costs of litigation.




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                                                                                                      ·,·_.
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                                             SECOND COUNT

                         (Declaratory Judgment/Breach of Contract-Indemnity)

                  19.   F ourthParty PlaintiffPrincetonrepeats the allegations ofthe preceding paragraphs

       if set forth at length herein..

                  20.   In the Third Party Complaint, it is alleged that Princeton negligently perfurmed

        management consulting responsibilities, including its failure to "advise and assist [ONI] with its

          ces, accounts and other conduct of its business.'' [See Third Party Compl., i!i\21 -21 (including

      ubparts).

                  21.    Any liability on the part ofPrincetonor damages as alleged in connection with the

        · d Party Complaint has been refused to be prod by RLI.

                  22.    However, any liability ofFrincetoninconnection to the allegations included in the

            Party Complaint is covered under the Policy because (1) the loss, if any, arose out of the

       rofessional Services as defined in the Policy; (2) the Policy is a "claims made" policy and the claim

      or Princeton's alleged negligent performance in connection with its Professional Services          a:s
       efined in the Policy was asserted during the Policy's coverage period, and (3) the provisions in·the

       olicy which RLI relies on to bar or otherwise disclaim coverage are not specific, plain, clear or

       rominent and are contrary to public policy.

                  23.    As a result of the foregoing, RLI is liable to Princeton for any monies paid out as

       result of the underlying action.

                   WHEREFORE, Fourth Party Plaintifl; Princeton Investment Partners, Ltd., demands

         gment againsttheFourthParty Defendants, RLIInsurance Company ("RLr'), John and Jane Doe~

       -5 and ABC Company 1-5 as follows:


                                                        9
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               (a)    Declaring that Fourth Party Plaintiff;, Princeton Investment Partners, Ltd., was/i

     ntitled to coverage as an:insured under the Policy afforded by Fourth Party DefendantRLI Insurance

     ompany;

               (b)    Declaring that Fourth Party Defendant RU Insurance Company was/is obligated

      defend, ID.demnify and insure Princeton Investment Partners, Ltd., against the allegations in the

      . d Party CoIDJllallit;

               (c)     Declaring Fourth Party Defendant RLI Insurance Company to have a duty to

      demnify Fourth Party Plaintiff, Princeton Investment Partners, Ltd., under the Policy, agalnst any

      rder or Judgment that may be entered against it;

               (d)     Declaring Fourth Party Defendant RLI Insurance Company to be obligated               to
     eimburse Plaintiff, Princeton Investment Partners, Ltd., for all expenses incurred for attorneys' fees

        costs in defending against the Third Party Complaint; and

               ( e)    Ordering such other and further relief as may be equitable and just.

                                              KOZ¥RA & HARTZ, LLC                                       ,   ....
                                              Attomeys for Fourth-Party Plall!tiff,                            '
                                              Princeton Investment Partners, Ltd.




      ated: October28, 2016
                                              JURY DEMAND

            Fourth Party Plaintiff, Princeton Investment Partners, Ltd., hereby demands a trial by jury

       to all issues herein presented.




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                                     DESIGNATION OF TRIAL COUNSEL

            Pursuant to the provisions of& 4:25-4, the Court is hereby advised that Barry A. Kozyra,

      sq., is designated as trial counsel.

                                                     KOZ¥RA & HARTZ, LLC
                                                     Attorneys for Third Party Defendant,
                                                     Princeton Investment Partners, Ltd.




      ated: October28, 2016

              DEMAND FORDOCUJV1ENTS AND PRESERVATION OF EVIDENCE

               Third Party Defendant demands full copies of all documents referred to in the Third Party

      omplaint be served on counsel withlnfive days and the Defendants!Third Party Plaintiffs and thelr

      unsel preserve all documents in their possession, custody and control.

                                             KOZfRA & HARTZ, LLC
                                             Attorneys for Third Party Defendant,
                                             Princeton Investment Partners, Ltd.


                                             By:
                                                               c , j·_J
                                                                     i.        /"\.___
                                                                 KOZ
      ated: October 28, 2016




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                                       RULE 4:5-1 CERTIFICATION

            Pursuant to Rule 4:5-1, it is stated that the matter in controversy is not the subject of any

     ther action pending in any other court or of a pencling arbitration proceecling to the best of our

       owledge or belief. Also, to the best of our belief, no other action or arbitration proceeding is

     ontemplated. Further, other than the parties set forth in this pleading, we know of no other parties

         should be joined~ the above action. In addition, we recognize the continuing obligation or each

      arty to file and serve on all parties and the Court an amended certification if there is a change in   the
     acts stated in this ·original Certification.

                                                    KOZVRA & HARTZ, LLC
                                                    Attorneys for Third Party Defendant,
                                                    Princeton Investment Partners, Ltd.




      ated: October 28, 2016
                                       RULE 1:38-7(8) DISCLOSURE

                I certify that confidential personal identifiers have been redacted from documents now

      ubmitted to the Court, and will be redacted from all documents submitted in the future in

      ccordancewifuR.1:38-7(b).

                                                    KOZVRA & HARTZ, LLC
                                                    Attorneys for Third Party Defendant,
                                                    Prince ' lnve      ~Ji P    rn, Ltd.



                                                                                                         "    ' '
       ated: October28,2016




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                                     CERTIFICATION OF SERVICE

            The undersigned hereby certifies that a copy ofthis responsive pleading was served via New

      ersey Lavvyer Service upon:

                                      Frederick C. Biehl, III, Esq.
                                Soriano, Henkel, Biehl & Matthew~ P.C.
                                         75 Eisenhower Parkway
                                      Roseland, New Jersey 07068

                                          Christopher Leise, Esq.
                                         White and Williams, LLP
                                          457 Haddonfield Road
                                                  Suite 400
                                    Cherry Hill, New Jersey 08002-2220

                                    Sichenzi Ross Friedman Ference, LLP
                                               61 Broadway
                                        New York, New York 10006
                                        Attn: Gary Vamavides, Esq.


                                             KOZ¥RA & HARTZ, LLC
                                             Attorneys for Third Party Defendant,
                                             Princeton Investment Partners, Ltd.




      ated: October 28, 2016




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                                    EXHIBIT A
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            '85!\'3113600
             Attmneys fur Deferul;mls,
            ·USih"1u-m1ceServices;L1candRobedQJpe

            OLDNABSAUIMPORl'S,LLC                             1.   suPER10RcOURTOFNEw·lERSEY
                                                              " LAWD!VISI(JN' • ESS!JX COIJNl'Y
                                       Pli!imill;
                                                              ' DbcKETNO.: IA86S-l4
                      v.                                      '
                                                                ClViL ACTION
            US! lNSlJRANc;E SERVICE';:, LI,C, ]!PBER:l':
            COPE, DAVID. GAS'IWIRTJi:, AMEluCAN '. llSIINSJ;JRANcg S1'il.VICEs, LLc•s
            BUSINESS. JNQ. AND AMERlC1¢<                ; Al'll> ROBEQ'r COPiWl~
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            PRJ!llc;El.UN INVJis'f.MENTllA\lTNEW;,            '
           LTD.,.




            1712.930&\',l
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                    5.     Plaintiff Old Nassan ix·in the SJ>i<ii>; busines. and msmbutct and rnarlq,ts a
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                   8·       Upon intormatiou and:belie:f;, Si:vi-tz is aruf V{aS- fue President aru:i owner of PlP,

          .and D. Ro" Axlhum was the Vke Presicleot ofPIP >md_pro± """'"'1pm:tner.
                   9.       Pursuanttothis-~PIP agreedtoprovide·fue foUowing.servlces. io Old

           Nassau. i.e., "ONf';

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                    Seo Exl)..A, p,,.. J:(empliases_ ¢<led).

                    {(),     Jnconsidmation of!he services·rendered byPll',"ONI ag<ee<lto comp-Pll'i

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                    11.      The A~ent states that:PIB was~ as an hide.pendent confmctor and not
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                     12,     Sivitz andAtl:hln-s-.- on behalf of PIP ~.J?1p:sU;\Ul-i_to the·Agi:~ aSSiSted Old

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                           14_      PIP also assisted 01<l Nassau wifh investing awl finance. Pursuant to th(}

                  ~eement; Arthurs helped Old Nassan setup. i1s own "financial admini.d:rniion," which

                   included.managing Old Nassau's financial $countsaIJ4en.sullng tlrntbills were timely ~ald.

                  ·He alto hired Teresa Deluca.to WO!kl!.s an accounting· manager fur Old Nassau.
                            15.     On·S'!'tember 7,20\2,. OldN:aM<µt's premiuµipey,neutwos due ibtthb life

                   in~ policy ~ed. by ReliaStar ~Company: Old NH;Ssan fuiled to pay fuis poli~s

                   prem.j:u.µi and the p~licy lapsed effective Nnveniher7, 2012.

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             1rial by jury as·to.all issues herein. presented.

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                                                 Respectfully sui>mltred,
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                                                 .'.Plaintiffs, US!~ Services, LLC
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          Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 31 of 43 PageID: 37
-------          ""···----, ....
          ,--~··-··              ··- ..                        ·-····-· '·---'"• ·-. -·- - --· ---:




                                 EXHIBIT B
      Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 32 of 43 PageID: 38
                                                                            --.-------   >"
                                                                                                                              ---~-   ----   ~-   - - -··---·




  RU Insurance Company       Chicago Branch orf1Ce   I 515 ¥.'est V;m: Buren St. l Congress Center. Sufu;· 3~0 f   Chicago, ll 60607·lB2l

                                                                               P: l~2-360•156µ   I   F: 312-360-15~5   1 www.rtiwrp.cpm



August 26, 2016
Via Certified Maif Return Receipt Requested 9214 8969 0099 9790 1609 9645 54
William Slvlts
Ross Arthurs
Princeton Investment Partners, Ltd.
80 Cottontail Lane, Suite 105
Summerset, NJ 08873


Re:     Named Insured: Princetpn Investment Partners, ltd.
        Claimant: US\ Insurance Services, LLC and Robert Cope
        Polley No.: RTP00062,30
        RL1 File No. 00424463


Dear Gentlemen:
        This will acknowledge that on June 23, 20161 RLI Insurance Company {"RU") was notified of a Claim
made against Princeton Investment Partners, Ltd. {'Princeton Partners"i For the reasons discussed below1 RLI
must respectfully decline coverage far this claim {both defense and indemnity) under the Rll policy. Rll
regrettably reaches this decision based upon the· information that it has been provfded. Please take the time
to read this letter in its entirety,. If you have any questions regarding the Issues raised in this letter, please
contact the undersigned,                                           ·

         Thedaim

         Old Nassau lmP.orts, LLC (!'Old Nassau") flied litigation in the Sup.erior Court of New Jersey, Law Division
 In Essex, County styled Old -Nassau Imports, LLCv, US Insurance Services et al., under Docket No.: L-8865... 14. In
 response to thls- lltlgation, US\ Insurance Services, LLC and Robert Cope filed a Third Party Complaint, the {"US/
 Thlrd Party Complaint'') agaihst Princeton Investment Partners, Ltd. n.e US! Third Party Complaint alleges Old
 Nassau in 2008 retained Princeton Partners to::
         "advise and assist ONI In the conduct of its business, ine.luding without limitation,
         operational growth; cash flow management, investment banking, inventory control
         and management, logistics, product testing and distribution, strategic planning,
         financial analysis, insurance services p.nd such other matters as may be reasonably
         requested and approved by the ONI Board of Directors".
                                                                '1
    Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 33 of 43 PageID: 39
                                   "'"·'-------·--·--   -·--1




It is further alleged In the USt Third Party Complaint:


       "Slvitz and Arthurs, on behalf of PIP and pursuant to the Agreement, assisted Old Nassau in the
        conduct of its buslness1 including its operational gfowth, cash fiow management, strategic
        planning, financial services, and lnsul'ance services."

        "Speclfical\y, Sivitz was the PIP "insurance guy" for Old Nassau. Pursuant tQ- the Agreement,
        Sivitz./PIP was responsible for obtaining and maintaining all of Old Nassau's insurance coverages,
        including general llability, property, workers' compensation, D&O liability, fiduciary llatlility, and
        the key man life insurance coveri;iges on Malcolm Lloyd's life at issue in this litigation. Sivitz/PIP
        engaged USt, communicated Old Nassau's needs to US!, was responsible for providing the
        necessary lnformatlon and completing the necessary forms on behalf of Old Nassau to procure
        Old Nassau's insurance coverages. Furthermore, Sivltz/PIP reviewed and approved offers of
        insurance and gave authority on behalf of Old Nassau to bind its coverages, he negotiate:d iower
         prerniurns on Pehalf of Old Nassau, be was .respohsible fur ensu~ing titnelv. payments we.re ma.de.
        with regard to Old Nassau's irisurance premiums, and he was responsible for maintaining Old
         Nassau 1s insurance documents. Sivitz/PIP even handled the submlssion of Old Nassau's claims
         on the life insurance policies. !n short, Sivitz/PIP handled the day-to-day Insurance: needs of Old
         Nassau."


         The USl Third Party Complaint alleges Princeton Partners "negligently performed its
 duties to advise and assist Old Nass.au with its Insurance services by failing to":

                                                 !
                a. ensure that Old Nassat( timely paid its life lnsurance poliey premiums;
                                                 !'
                b. adequately monitor ~nd/or manage Old Nassau's accounts to ensure tlmely
                   payment of its bills and/or identify due dates of its insurance policy premiums;
                                                 !
                                                 ';
                 c. establish and implem~nt a proper 11 financial administration" system for Old
                    Nassau to receive, doc}.iment, and properly tracl< Old Nassau 1s bills and· payrnents
                    of its bllts, including l~ insurance policy premi.ums;
                                                 !
                 d. establish and/or lmpffment a ~ecords system that properly stored Old _Nassau's
                    busin~ss-related docuorents and inventory of.its assetsr such as its insuran~e pollcles;

                                                                2
Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 34 of 43 PageID: 40




       e. properly hire and train Old Nassau employees to manage its accounts and record-
           keeping, including documenting, tracking and ensuring timely payments of ·its bills i.lnd
          ·other accounts due1 such as the life insurance policy premiums.

       f.     Notify Old Nassau that the premiums were done, as it had previously done;

       g. ensure that policy premiums for the life insurance policles were timely paid;

       h. take reasonable action to prevent the life insurance policies from lapsing;

       1.     inform or advise Qld Nas.sau that.is life insurance pollCies had lapsed;

       j.     advise or aide Old Nassau regarding the reinstatement of any of the poHcies after the
              lapsed;

        k. establish or implement a records system that adequately stored arid maintained Old
              Nassau's Insurance-related documents and lnformatfon, such as copies of its insurance
              policies and materlal lnformation about its policies, such as their policy periods and end
              dates and their premium due dates;

        \.    establish or implement an adequate system that enabled Old Nassau to diary and track
              the effective end dat$s of its policies and the due dates of its policy premiums;

        m. Investigate to determine whetl\er th~ Hfe insurance premiums had been paid and the
               policies were In good.standing;

        n. enroll Did Nassau in t)ie Insurer's automatic payment of premium programs;

        a. permitting Old Nass~u to believe that all of its insurance needs (and specific requests)
           were being met at a t1me PIP knew or should have known they that-were not being met
        p. representing to Did ~assau that it had $1S#oo0,ooo in life insurance coverage when the
           ReliaStar and ReliaSt~r NY policies had lapse already:

            q. alTowing the Princi~al application to list the lapsed insurance policies as "other
                                     ;
               fnsurance";


                                                   3
   Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 35 of 43 PageID: 41
                                                      -~-··-1




Rll'

       The US/ Third Party Complaint alleges that Princeton Partner failed to pay the prem.ium for
several life insurance policies providing coverage for Old Nassau employees, which resulted in lapsed
coverage for each of those pollcies. The US/ Third Party Complaint alleges that due to the negligence of
Princeton Partners, Old Nassau lost $15,000,000 in life insurance policies for its employees an·d seeks
recovery from them for damages.

       Policy Limits and Coverage

         Your Target Profess\onals Personal Services Liability Policy number RTP0006230 with RLI is a <;:\aims
made and reporteq Policy with a Polley Period from September 5, 2015 to September 5, 2016 with limits of
liability of $1,000,000 each C\alm and $1,000,000 each Policy Year. The Policy contains a $10,000 e-ach Claim
Deductible. The Defense within Limits and Retroactive Date Endorsement sets forth an October·1, 1998
Retroactlve Date.


        The Policy also provides that RLI agrees as follows:

        <L   The Insurer will pay on behalf of the Insureds Claim Expenses and Damages in excess of the
             Deductible and not exceeding the Llmits-of Liability shown on the Policy Declarations- that the
             Insured sha II bee om e legally obligated to pay because of Claims first made against the Insured
             during the Policy Period and first reported to the Insurer during the Policy Period, the Automatic
             Extended Reporting Period, or if applicable, during the Extended Reporting.Period, for Wrongful
             Acts to whlchthis Insurance applies.

        The Policy provid~s for the following define~ terms:

        m. 11 Professlonal Services 11 means services rendered to others for a fee solely in the conduct of the
            \nsured's profession as stated in Item 7. of the Policy Declarations, including such services provided
             electronlca\ly utilizing the Internet or a network of two or more computers.

        q. ''Wrongful Ac'C' means any actual or alleged error, omission or negligent act, committed solely in the
             rendering of or failure to render Professional Servic~s by an Insured or any person or entity for
             which the insured is legally Hable. Wrongful Act also means any aci:llal or alleged error, omission or
             negllgent act commllted solely ln the rendering of or failure to render Professional Services by an
             Insured or any pei?on or entity for which the lnsµred is legally liable and that results in Personal
             Injury.

         Definition of Professional Services

                                                          4
           Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 36 of 43 PageID: 42
.. ·-- -· -·-----,




   RLI'

          Your Target Professionals Personal Services liability Polley with RLI lists Ntanagement Consulth:ig
   Services as the Professional Services covered by this Policy. The Management Consulting Services
   Endorsement provides in pertinent part as-follows:

                 lt is agreed that:

                           1. Section 5. DEFINITIONS, is amended to include the following

                           "Management Consulting Services" means:

                                   {i) analysis of management and operational issues and dev·elopm·ent of improvement
                                   plans; or

                                   {ii) advice and guidance on development and implementation of strategic goals, and
                                   objectives; or

                                   (iii} a·dvice and guidance on Improving the efficienGY of functional or operational areas
                                   through technology and human resource solutions; or

                                   (iv) development and implementation of coaching skills for management and key
                                   personnel.

                     ·No covered Professional Services Alleged Bv The US! Third Partv Complaint

              ln order for your RLI Policy to grant coverage for this claim, there must be Professional Services as
     defined by your Policy performed by an Insured on behalf of Princeton Partners. The USI Third Party Complafnt
     fails to allege Professional Services by W-illiarn Sivitz'- Ross Ar.thurs and/or Prihceton. Partners-which falls within
     the definition of Management Consulting Services. Therefore, .regrettably there is no coverage for the US/
     Third Party Complaint.




                     No Professional Services Performed on Behalf of Named lnsured

                     Your Target Professionals Personal Serviles Liability Policy with RU proVides for the following defined
      terms:


                      When used ln this Policy:
                                                                     5
  Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 37 of 43 PageID: 43
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                   g. "lnsureq" means:

                          {i)      the individual, partnership, corporation or other entity specified as the Named
                                   Insured in Item 1. of the Policy Declarations, including any partner, member,
                                   ditector, officer or employee thereof while acting within the scope of their duties
                                   as such;

                          (ii}     any former or retired partner, member~ director, officer or employee of the
                                   Na.med Insured or Subsidiary, but only for those ·Professional Services rendered
                                   on behalf of the Named tnsui:ed or Subsidiary prior to the date of separation or
                                   retirement from the Named Insured or Subsidiary;

                           (iii)   independent contractors w~o are natural persons und.er contract with the
                                   Named Insured or Subsidiary, but solely for those Professional Services
                                   rendered on behalf of the Named Insured or Subsidiary;

                           (iv)    any Subsidiary of the Named Insured;

                           (v)     in the event of death, iocompetency, insolvency or bankruptcy of any Insured,
                                   described in paragraphs (i) and (ii) above, such lnsured's legal representathre
                                   while acting within the scope of his or her duties as such.

                    h. "Named Insured" means the individtial~ partnership, corporation or other entity 'Specified in
                    Item 1. of the Policy Declarations.

       Based upon the information provided to Rll, William Sivitz and Ross Arthurs, on behalf of Princeton
Partners, were retained by Did Nassau on May 1, 2008 for a period of one year through May 1, 2009..
Subsequently, Ross Arthur left his role as a consultant with Princeton Partners and was employed by Old
Nassau as Chief Financial Officer on January 1, 2010-. William Sivitz left his role as a consultant with Princeton
Partners and was employed by Old Nassau as Chief Administrattv-e Officer on January 1, 2010. Bill Sivitz'
employment contract was extende.d by Old Nassau for 2011, 2012 and 2013 by Old Nassau based upori tf:te
documents reviewed,

            The US/ Third Party Complaint alleges the fol!q'{lling date       re\atin~   to its claim against Princeton
Partners:

            September "l, 20.12:    Reliasfar premium due
            November 7, 2012:       Reliastar policy lapsed
                                                              6
   Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 38 of 43 PageID: 44
                                                        '                                   -----~,




Rll.

       December 3, 2012:      Re\iastar premium due
       February 4, 2013:      Re\iastar policy lapsed
       February 6, 2013:      Principal premium due
       March 16, 2014:        Principal policy lapsed

      Our examination of the information provided to us as well as the allegations pied In the USJ Third Party
Complaint lead to the conclusion that neith.er-Wllliam Slvitz nor Ross Arthurs were performing Professional
services as defined by your RU Policy on behalf of Princeton Partners at the time of the alleged negligent acts
which led to policies of insurance lapsing due to the non-payment of insurance premiums. Therefore,
regrettaqty there {s no coverage for the US/ Third Party Complaint

       Exclusion for Insurance
        The Exclusions Section of your Target Professionals liability Policy number RTP0006779 with Rll states
in Section 6{h) and 6(p) as follows:


       The Insurer shall not be liable for Damages or Claim Expenses in connection with any Claim arising out
       of, directly or indirectly resulting from or in consequence of or in any way Involving:

                                        1
                h. any actual or al\eged failure to effect or maintain any insurance or bond; or
                p. any actual or alleged 1rendering or fallure to render investment or insurance cou;nseling or
                advicei the purchase orfselling of, or failure to purchase or sell an investment or in.surance of
                any kind; or any lhsured's advice, promise{s) or guarantee{s) regarding the future Value bf any
                Investments or interest)rate or rate of return; or any lnsured's advice, promise(s) <?r       . ..
                guarantee(s} regarding  rhe  coverage provided or not provided bylns1,1rance of <1.nv:kind.

         The US/ Third Party Complalnt\n its entirety alleges a failure by Princeton Partners to advise, monitor
 and preserve life insurance policies fo~ employees of O{d N~ssau. The services rendered by Princeton Partners
 alleged in the US/ Third Party Complaikttrig.ger Excluslons 15 (h) and 6 {p) of your Policy and exclude coveirage.
 for this claim.                        \

        Conclusion                      [

        For the reasons discussed abJve, Rll mi.1st respectfully decline coverage for this claim {both defense
 and indemnity) under the RLI policy. ~LI regrettably reach1::s this decision based upon the information that it
 has been provided. If you disagree wii:h our conclusion and you wish to provide us with additional lnformatlon
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       Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 39 of 43 PageID: 45
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                              ,




Rll'

and/or documentation to support your positlon1 please direct same to the attention of the undersigned and
we will give this matter further consid_eration.

       White portions of the Policy ate quoted ln this letter in an effort to explain the applicable \imitations of
coverage under the Policy, all of the terms and conditions of the Policy apply. RLI specifically relies on all of
the terms and conditions of the Policy, and RLl1s failure to mentlon a provision of the Policy or other coverage
defenses in this letter is not intended to be and should not be viewed as a waiver of any defenses and rights
under the Polley, in equity and under applicable law. RLI reserves its right to assert any other co'(erage
defense that might apply to this matter. Please take the appropriate measures to consult with a qualified
attorney to advise you how to respond to the USJ Third Party Complaint.


         lf you have any questions or concerns please contact me at (312) 360-1566 x 1258,


         Sincerely,




         Michael Simmons

         Claims Manager
         R}J Insurance Company
         525 \tVest Van Buren, Suite 350
         Chicago IL 60607
         (312) 360-1566 ext. 1258
         fax (866) 551-4016
         michael.simmons@r!icorp,com




 cc:      l-lub International c/o George Glavas by email at George, Gavalas@hubinternational
          RU c/o Matthew Hanna by email at Matthew.Hanna@rlicorp.com
          Rll c/o Jeremy Israelite by email at Jeremy. Israelite@rlicorp.com
          Rll c/o Paul Dietrich by email at Paul.Dietrich@rlitorp.com



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         Bany A. KoZJ!'" Esq. (023641978)
                                                                         .w                     SEP 3 0 20i6
         !{OZYRA & HARTZ, l..LC
         354 Eisenhower Parkway                                                 Hon. L GrawSpancar, J. B.C.
         Second Floor, Suite 2300
         Livingston, New Jersey 07039
         Tel:, (973)74-0-1550
         F= (973) 740-1515
         Attorneys for Third PurtyDefendant
         Princeton Jnvestment Parlnei-s, Ltd

          OLD NASSAU IMPORTS, LLC,                     ! SUPERIOR COURT OF NEW JERSEY
                                                       i LAWDMSION'- ESSBXCOUNTY
                                  Plaintiff, .         i
                                                       i DOCKET NO. L-8&65-14

          usr   INS~~  SERVICES, UC,      CIVIL ACTION I               I
          ROBERTCOPE,DAVIDGASTW!RTR !
          AMERICAN BUSINESS, lNC. AND   )
          AMERICAN BUSJNESS EAST, INC., !     CONSENTORDER EXTENDING
          JOHN AND JANE DOES I-IO, ABC
          COMPANY 1-10
                                        '
                                                       l
                                                 TIME TO ANSWER TJIIRD
                                                                 PAR'l'·y COMPLAINT

                                  Defendants.          l
             -~~~~~~~~~~!

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          OSI JNSURAN-CE SERViCES, f_,LC ~nd
          ROBERT COPE,                                                              ;u
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                          Third-Party l1laiuti:ffi;,
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          PRINCETON lNVESTMENT                                                  ···-:·-;                    )ol;:<°3'~
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          PARTNERS, LTD.
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                          Third·Party Defendant~       j
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Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 41 of 43 PageID: 47
                                                                 -   --.   ~·--·-   --,




  Sip. 21. 2<)16 10:2\AM                                                                              I~;..   5144   f'. 3




                          TlllS MA'l'TER, having come before the Court ·upon tl1e Third Party Plainti:ffi:, US·

             Insurunce Services, LLC fil}dRobert Cope's "fhirdPm:ty Complaint against Princeton lrrvestn1e

             Partners, Ltd., and lhe parties having agreed that the 'fhird Party Defendant shall have suffici

             time to file       s~e M.;                 'IZ                         "   propriE\t3, and the parties wishing t

             n1emorialize the terms of their agreement, and for good ciu1se sho'WI!;

                          ITlS,   on tbi' 3!i."a.ror "'-yd-.. 2016;
                           ORDERED'

                           1.     That tho timeforTillrdParty Defendant to answer~~ ID. this n1att

             sh.all be extended until October 28. 2016.

                           2.      A Copy· of this Consent Order shall be sen•ed U_pon counsel to the Third Party

             I>lainti:ffi'Jitbin 4_ days.




                                                Hon. L. Grace Spencer, J.S.C.s.sc
             Consent as to form and entry:

                  [}

             :;,!1~.,zto~~~hje,~P~.'L=eo~,.,~.-t:~q.-"-..!..<"-''t~
             Attumcy for Third Party Plaintiffu




                  I'     "
                       ' ;._1

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          Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 42 of 43 PageID: 48


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/
                                                                  Appendix XU-Bl

                                      CIVIL CASE INFORMATION STATEMENT
                                                     (CIS)
                                                       Use for initial Law Division                          AMOUNT:
                                         Civil Part pleadings (not motions} under Rule 4:5-1
                                  Pleading will b~ rejected for filing, under Rule 1:5-G(c),                   OVERPAYMENT:
                                   if information above the black bar is not completed
                                           or attorney's signature is not afFated                              BATCH NUMBER.:


        ATTORNEY I PRO SE NAME                                       TELEPHONE NUMBER                 COUN1YOFVENUE
        Barry A. Kozyra, Esq.                                         {973) 740-1550                   Essex
        FIRM NAME Of applicable}                                                                      DOCKET NUMBER {V'Jhen available}
        Kozyra & Hartz, LLC                                                                            L-8865-14
        OFFICE ADDRESS                                                                                DOCUMENT TYPE
        354 Eisenhower Parkway, Second Floor, Suite 2300                                               Answer to Third Party Complaint
        Livingston, New Jersey 07039
                                                                                                      JURY DEMAND                     0    No

        NAME OF PARTY (e.g., John Doe, Plainllfi}            CAPTION
        Third Party Defendant, Princeton                        Old Nassau Imports, LLC vs. USI Insurance Services, LLC, et al. vs, US!
        Investment Partners, Ltd                                Insurance Services, LLC, et aL vs_ Princeton Investment Partners, Ltd.


         CASE 1YPE NUMBER                 HURRICANE SANDY
        (See reverse side for listing)    RELATED?           IS IBIS A PROFESSIONAL MALPRACTICE CASE?                    DYES         .NO
                                          DYES       .NO     IFYOU HAVE CHECKED "YES." SEE M.J.SA. 2A:53 A-27 AND APPLICABLE CASE IJ\W
         505                                                 REGARDING YOUR OBUGATIONTO ALE AN AFFIDAVIT OF MERIT.
        RELATED CASES PENDING?                                  IFYES, UST DOCKET NUMBERS
                   0Yes                   •No
         DO YOU ANTICIPATE ADDING ANY PARTIES                   NAME OF DEFENDANT'S PRIMARY INSURANCE COMPANY            \tf known)
        {arising out cf same transaciion or oa:urrenoo)?        RL1 Insurance Company                                                  D   NoNE
                   .YES                   0No                                                                                          0   UNKNOWN

                      THE INFORl\~AT!ON PROVIDCD ON THIS FORM CANNOT SE INTRODUCED INTO EVIDENCE.
         CASt=: CHARACTERISTICS FOR PURPOSES OF DErERMlNlNG IF CASE JS APPROPRIAlE FOR MEDIATION
         DO PARTIES HAVE A CURRENT. PAST OR                 IF YES, JS ll-IAT RELATIONSHIP;
         RECURRENT RELATIONSH\P?                            0   EMPLOYER/EMPLOYEE             0   FRIEWOINEIGHBOR      D   Oll-IER(ex:p!ain)
                   DYEs                   •No               D   FAMILIAL                      D   BUS!WESS


         DOES THE STATUTE GOVERNING IBIS CASE PROVIDE FOR PAYMENT OF FEES BY1HELOSING P '                    1Y?.Si;f£tjf"                                 Ir·-1
         USETiilS SPACETOALERTTHECOURTTOANYSPECIALCASECHARACTER!STICSTHATMAYWARRANT!NONIOU4.1r!~ 0R                                                    •
         ACCELERATED DISPOSITION                                          ,\  .  . •                                       ESSEX VICINAGE              '
         We represent a newly added third party {Princeton Investment Partners, ltd) which w[n be addi g a non-party Illinois
         based insurance company (RLI Insurance Company) as an additional party.                                3I         OOT            2016


          ··.~..   00 YQU OR YOUR CLIENT NEED NN DISAf!IUTY ACCOMMODATIONS?
         'O.'      0 YE.s                  •   No
                                                                                                                                                            I'
                   WILLHI INTI:R?RETER SE NEEDED?                                  IFYES, FOR WHAT LANGuAGE7
                   0Yes                    •No

          I certify that wnfidential lffrsonal identifiers have' been redacted from docwnents now submitted to the court, and will be
          redacf.ed from all docum';'pts submitte n ~ture In accordance with Rule1:38-7(b).

          ATIORNEY S!GNAT
                                                                          \
                                  /
        Effective12--07-201S, CN 10517-English                                                                                                 page 1 cf2
 Case 2:17-cv-01120-KM-MAH Document 1-1 Filed 02/17/17 Page 43 of 43 PageID: 49




                                       CIVIL CASE INFORMATION STATEMENT
                                                                           (CIS)
                                                  Use for initial pleadings (not motlons) under Rule 4:5-1


CASE TYPES {Choose one and enter number of case type in appropriate space on the reverse side.)
        Track I ~ 150 days' discovery
              151    NAME CHANGE
             175 FORFEITURE
             302.    TENANCY
             399 REAL PROPERTY {other than Tenancy, Contract, Condemnation, Complex Commercial or CPl'lstruc:tion)
              502    BOOK ACCOUNT {debt rolleclion mattera only)
              505    011-IER INSURANCE CLAIM {including declaratory judgment actians)
              506 PIP COVERAGE
              510 UM or UIM ClAlM (coverage issues nnly)
              511 ACTION ON NEGOTIABLE!NSTRUMENT
              512 LEMON LAW
              801       SUMMARY ACTION
              802    OPEN PUBLIC RECORDS ACT (summaiy acGon)
              999    011-IER (briefly describe nature of aciion)



         Track !I   ~   300 days' discovery
              305 CONS1RUCTION
              509 EMPLOYMENT (other Uian CEPA or LAD)
              599 CONTRACT/COMMERCIAL TRANSACTION
              603N AUTO NEGLIGENCE-PERSONAL INJURY {non-veiba\ threshold}
              603Y AUTO NEGLIGENCE- PERSONAL INJURY (velba1 lhreshold}
              605 PERSONAL INJURY
              610 AUTO NEGLIGENCE- PROPER;TYDAMAGE
              621 UM or U1M CLAIM {includes bodily injury)
              6B9 TORT - OTHER
         Track Ill • 450 days' discovery
              005       CIVIL RIGHTS
              301 CONDEMNATION
              602 ASSAULT AND BATfERY
              604 MEDICAL MAlPRACTICE
              606 PRODUCT UABlLllY
              607 PROFESSIONAL MALPRACTICE
              608 TOXIC TORT
              6D9 DEFAMATION
              616 WHlSTLEBLOWER I CONSCIENTIOUS EMPLOYEE PROTECTION ACT (CEPA) CASES
              617 INVERSE CONDEMNATION
              618 LAW AGAINST DlSCR\MINATION {LAO) CASES
          Track IV " Active Case Management by Individual Judge f 450 days• discovery
               156 ENVIRONMENTAUENVIRONMENTAL COVERAGE LITIGATION
               303 MT. LAUREL
               508 COMPLEX COMMERCIAL
               513 COMPLEX CONS1RUCTION
               514 INSURANCE FRAUD
               620 FALSE CLAIMS ACT
               701 ACTIONS IN LIEU OF PREROGATIVE WRITS
          Multicounty Litigation (Track IV)
               271      ACCUTANE/ISOTRETINO\N                       290    POMPTON LAKES ENVIRONMEITTAL LITIGATION
               274      R!SPERDAVSEROQUELIZYPREXA                   291    PELVIC MESH/GYNECARE
               278      ZOMETNAREDIA                                292    PELVIC MESH/BARD
               279      GAOOLIN!UM                                  293    DEPUY ASR HIP !MPLANTLITIGATION
               281      BRISTOL-MYERS SQUIBB ENVIRONMENTAL          295    AlLOOERM REGENERATIVE TISSUE MATRIX
               282      FOSAMAX                                     296    S1RYKER REJUVENATE/ABG II MODULAR HIP STEM COMPONEITTS
               285      STRYKER TRIDENT H!P IMPLANTS                297    MlRENACONTRACEPTIVE DEVICE
               286 LEVAQUJN                                          299   OLMESARTAN MEDOXOMIL MEDICATIONS/BENJCAR
               287 YAZNASMIN/OCELLA                                  300   TALC-BASEOBODYPOWDERS
               288 PRUDENTIAL TORTLmGATION                           601   ASBEsros
               289 REGLAN                                            623   PROPECIA


          If you be!leve lhis case requires a track other lhan that provided above, pli:rasc indicate the reason on Side 1,
          Jn the-space under KCase Characteristics.

               Please check off each applicable category                   0   Putative Class Action              0   Title59



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